                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

   NISUS CORPORATION, a Tennessee      )
   Corporation,                        )
                                       )
         Plaintiff,                    )
                                       )
   v.                                  )     No. 3:03-CV-120
                                       )     Varlan/Shirley
   PERMA-CHINK SYSTEMS, INC., a        )
   Washington Corporation,             )
                                       )
         Defendant.                    )
   ______________________________________________________________________________
   PLAINTIFF NISUS CORPORATION’S OPPOSITION TO PERMA-CHINK’S MOTION
             TO COMPEL PRODUCTION OF INTERROGATORY NO. 9

          Perma-Chink’s Motion to Compel relies on an incorrect premise:

          Nisus’ supplement to Interrogatory No. 9 again contained no substantive disclosure
          whatever. Instead, Nisus’ “supplementation” consisted of ten (10) additional pages of
          objections and legal arguments asserting that assignor estoppel barred all Perma-Chink
          affirmative defenses.

   Motion, at 2 (emphasis added). Nisus can fathom no excuse for filing a discovery motion that is

   so mistaken when Nisus’ responses at issue (included as Perma-Chink’s Attachment A) belie its

   premise.

          To allow the Court to evaluate the veracity of Perma-Chink’s representations, Nisus

   attaches Exhibit 1, which is a marked-up version of Nisus’ response to Interrogatory No. 9

   showing two things. First, a word search was performed on the electronic version of this

   document for “assignor” and, at each occurrence, Nisus has underlined the phrase “assignor

   estoppel” everywhere it appears. The second markings that Nisus has added are boxes indicating




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   the beginning of its response to each of Perma-Chink’s defense contentions, namely, the validity

   defenses and the inequitable conduct/fraud defenses.1

              After reviewing this marked document, Nisus submits the Court will appreciate that:

              ●   Nisus limits its reliance on assignor estoppel to patent invalidity defenses based on
                  facts or conditions existing on or before September 13, 1990, the date on which
                  Perma-Chink sold Nisus the patent rights at issue.
              ●   Perma-Chink is wrong in its contention that Nisus “repeatedly assert[s] that ‘assignor
                  estoppel’ justifies its non-response to each and every affirmative defense raised by
                  Perma-Chink—whether the conduct alleged occurred before or after September 13,
                  1990.” Perma-Chink’s Motion, at 2 (emphasis added).

   Nisus further believes that after considering the discussion below, the Court will also agree:

              ●   Nisus’ discovery responses relying on assignor estoppel correspond to the Nisus I
                  rulings, and Nisus did not extend the scope.
              ●   Nisus’ discovery responses addressing the inequitable conduct and fraud defenses are
                  more extensive than Perma-Chink’s own answers.


       Perma-Chink’s Contentions Regarding Nisus’ Inequitable Conduct Responses are Wrong

              Nisus begins its discussion with the inequitable conduct and fraud defenses, as that is the

   most disputed issue. The Court is aware that Perma-Chink has pleaded four separate counts for

   inequitable conduct/fraud in its affirmative defenses and counterclaims. Nisus addresses each of

   these four pleaded counts in its response to Interrogatory No. 9.2




   1
       As Perma-Chink noted, its
              affirmative defenses include: (a) lack of enforceability raised by Perma-Chink’s allegations of inequitable
              conduct and fraud, and (b) lack of validity raised by Perma-Chink’s allegations of statutory violations of 35
              U.S.C. § 102 (“anticipation and on-sale bar”), 35 U.S.C. § 103 (”obviousness”), 35 U.S.C. § 112 (“lack of
              enablement” “lack of best modes” and “indefiniteness”).
   Perma-Chink’s Motion, at 1.
   2
     Nisus responded to Perma-Chink’s pleadings that set forth these defenses, as Perma-Chink’s earlier discovery
   responses were not enlightening. To that end, Perma-Chink notes in its footnote 2 that Nisus’ Interrogatory No. 5
   requests “Perma-Chink’s contentions on unenforceability arising from inequitable conduct and/or fraud.” Perma-
   Chink’s initial response to this discovery request provided little information about Perma-Chink’s causes of actions
   or theories. See Exhibit 2, at 9-10. Nisus thus responded to the inequitable conduct/fraud contentions as set forth in
   Perma-Chink’s pleadings, which must be made with specificity pursuant to Rule 9(b).

                                                               2           Nisus’ Opposition to Perma-Chink’s Motion to
                                                                               Compel Production of Interrogatory No. 9
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               The table below lists the number designation of each of Perma-Chink’s inequitable

   conduct/fraud counterclaims, the general subject matter of the respective counts, and the pages in

   Exhibit 1 where Nisus began to address the counterclaims in its discovery response:

        Page of       Counterclaim                         General Subject of the Counterclaim
       Response         At Issue
          9                  9th           During the patent prosecution in 1991, Mr. Stanley Galyon allegedly
                                           made misrepresentations about the Bora-Care formulation related to
                                           the “environmentally safe” and “improved depth of penetration”
                                           claim limitations.
          12                 1st           Nisus’ counsel made misrepresentations about the 1988 sales of Bora-
                                           Care to the Patent Examiner while prosecuting the patent-in-suit.
          13                17th           Nisus improperly claimed a formulation including propylene glycol
                                           when it filed the application in 2001.
          15                11th           Nisus failed to disclose the 1988 sales of Bora-Care when prosecuting
                                           the ‘664 and ‘828 patents, both of which were at issue in Nisus I.

   This table and the associated annotated discovery response will allow the Court to determine

   more quickly the veracity of Perma-Chink’s allegations.

   A.          Nisus Addresses Perma-Chink’s Inequitable Conduct Counts that Allegedly Occurred
               in 2001 and 2002 without Objection or without Any Reference to Assignor Estoppel

               The inequitable conduct/fraud counts that Perma-Chink contends involve events

   supposedly occurring in 2001 and 2002 are the second and third claims in the table above. 3 The

   two charges, in general terms, are that (1) Nisus and its counsel supposedly made

   misrepresentations to the examiner during patent prosecution and (2) Nisus improperly filed

   claims for a propylene glycol formulation. Nisus’ discovery responses to these two defenses

   start at the top of page 12 and continue to the top of page 15. See Exhibit 1.

               As the Court will note, nowhere in those pages addressing these two pleaded inequitable

   conduct/fraud counts does the phrase “assignor estoppel” appear. See Exhibit 1. Nor is there a

   3
     The first allegation in the table involves actions that allegedly occurred in 1991 and the last entry involves events
   that concluded in 1997 when the ‘828 patent issued. A portion of the ‘828 patent is attached as Exhibit 3.

                                                              3            Nisus’ Opposition to Perma-Chink’s Motion to
                                                                               Compel Production of Interrogatory No. 9
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   single objection to addressing Perma-Chink’s two inequitable conduct/fraud contentions in these

   pages. See Exhibit 1. Nisus, in other words, provides substantive responses to Perma-Chink’s

   inequitable conduct defenses that it alleges arose or occurred in 2001 and 2002.

          Against this backdrop, it is inexplicable how Perma-Chink can in good faith represent to

   this Court that:

                  Its most egregious refusal to provide discovery relates to Perma-Chink’s
          unenforceability defenses. Perma-Chink’s affirmative defenses of inequitable conduct
          and fraud allege that Nisus breached its duty of candor and good faith by non-disclosure
          and misrepresentation of material information to the PTO. All of the relevant acts
          occurred during 2001 and 2002, during prosecution of the ‘095 patent, which was not
          even filed until June 25, 2001. Again, ignoring its own admission that even the broadest
          reading of the Nisus I orders is limited to conduct occurring prior to September 1990,
          Nisus refuses to provide any substantive response as to these affirmative defenses either.

   Perma-Chink’s Motion, at 1-2 (emphasis added). Perma-Chink’s representation is irreconcilable

   with the actual content of Nisus’ discovery responses, as Exhibit 1 highlights.

          Another example of Perma-Chink’s ubiquitous, but wrong, representations on this issue

   is:

          Perma-Chink’s unenforceability and fraud defenses are predicated on actions taken by
          Nisus and its counsel in the years 2001 and 2002, during the prosecution of the patent- in-
          suit. All of Nisus’ repetitive assignor estoppel objections and arguments thus have no
          bearing on these defenses.

   Perma-Chink’s Motion, at 5. Contrary to this assertion, Exhibit 1 documents that assignor

   estoppel objections do not appear anywhere in Nisus’ responses addressing the pleaded defenses

   that Perma-Chink contends arose or occurred in 2001 and 2002.

          Even more perplexing, Nisus provides a more lengthy response addressing these two

   inequitable conduct/fraud defenses than Perma-Chink provides in response to Nisus’

   corresponding interrogatory seeking information about all four of its counts. That is, Nisus’

   response spans three pages from the top of page 12 to the top of page 15. The substance of



                                                   4          Nisus’ Opposition to Perma-Chink’s Motion to
                                                                  Compel Production of Interrogatory No. 9
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   Perma-Chink’s “supplemented” response to Interrogatory No. 5, in which Perma-Chink

   addressed all of its inequitable conduct defenses, is less than two pages long. See Exhibit 4, at

   15-16. Specifically, Perma-Chink sets forth a litany of objections on page 14, begins its response

   on page 15, and ends close to the bottom of page 16, so it is not a full two pages of substantive

   response. Thus, Perma-Chink’s discovery answer, which is supposed to address all of its

   inequitable conduct defenses, is shorter than Nisus’ response addressing just two of the four

   pleaded allegations.

          Additionally, Perma-Chink’s discovery response seems to be deficient for incorporating

   its pleadings to be part of the interrogatory answer, but Nisus assumes that this disclosure forms

   no part of Perma-Chink’s “real” answer. Perma-Chink states:

                  Subject to and without waiver of these objections, Perma-Chink responds that it
          has already provided Nisus with detailed allegations of various acts of inequitable
          conduct and/or fraud in Perma-Chink’s Proposed Amended Answer (Court File No. 70,
          the briefing seeking to amend and depose counsel (Court File Nos. 64, 68, 70, 76, 77, 80,
          96, 122, 123, l26), and the hearing before Magistrate Judge Shirley on June 16, 2004 and
          Exhibits (Court File Nos. 129, 130).

   Id. at 15. But, Perma-Chink itself has repeatedly argued that a response including a reference to

   pleadings is highly improper under the Federal Rules. For example, Perma-Chink told Nisus:

                 The Rules do not permit Nisus to answer an interrogatory by citing to documents
          and depositions. Rule 33(d) requires substantive narrative responses.

   Exhibit 5, at 1, ¶ “2.” In another letter, Perma-Chink wrote:

          As you also well know, it is not an adequate response to cite to general depositions or
          blocks of documents.

   Exhibit 6, at 1. Perma-Chink later briefed this issue to the Court in detail

          Perma-Chink maintains that discovery responses of this nature are wholly inadequate and
          comprise an abuse of the “document option” provision of Fed. R. Civ. P. 33(d), as well as
          an improper citation to deposition testimony in place of providing substantive factual
          responses.



                                                    5          Nisus’ Opposition to Perma-Chink’s Motion to
                                                                   Compel Production of Interrogatory No. 9
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                       See Advisory Committee Notes To Rule 33(c) [subsection (c) was renumbered to
                       (d) by 1993 amendment] (“a responding party has the duty to specify, by category
                       and location, the records from which answers to interrogatories can be derived”);
                       See also 4A J. Moore, J. Lucas, Moore’s Federal Practice ¶ 33.25[1] (2d ed.
                       1991) (“It is well-established that an answer to an interrogatory ‘must be
                       responsive to the question. It should be complete in itself and should not refer to
                       the pleadings, or to depositions or other documents, or to other interrogatories, at
                       least where such references make it impossible to determine whether an adequate
                       answer has been given without an elaborate comparison of answers.”);
                       See also In re G-I Holdings, Inc. 21 8 F.R.D. 428,438 (D.N.J. 2003) (“The option
                       afforded by Rule 33(d) is not a procedural device for avoiding the duty to give
                       information.”); and US. SEC v. Elfindepen, S.A., 206 F.R.D. 574 (M.D.N.C. 2002)
                       (“Document dumps or vague references to documents do not suffice.”).

   Court File No. 103 (Exhibit 7), at 2.4 After Perma-Chink has conducted all of this research and

   made all of these arguments, and if the same standard is to be applied to Perma-Chink, then

   Perma-Chink’s citation to pleadings cannot form any part of its answer. (Also, if reference to

   pleadings did form part of Perma-Chink’s discovery response, then Nisus could correspondingly

   amend its answer to reference its pleadings—which do not discuss assignor estoppel—and

   Perma-Chink would certainly have to agree that this matter is concluded).

   B.         Unlike Perma-Chink, Nisus Addresses the Pleaded Count Alleging Mr. Galyon
              Committed Fraud and Inequitable Conduct

              As the table above indicates, Nisus addresses Perma-Chink’s next pleaded defense that

   Mr. Galyon supposedly committed inequitable conduct during the prosecution of the ‘664 patent

   in 1991. Nisus’ response on just this defense is slightly over three pages long. As will be noted

   from Exhibit 1, there is absolutely no reference to assignor estoppel in Nisus’ answer addressing



   4
       See also Securities and Exchange Comm’n v. Elfindepan, 206 F.R.D. 574, 577-78 (M.D.N.C. 2002):
                       Next, the documents plaintiff intends to use are not business records as required by Rule 33(d).
              Pleadings, depositions, exhibits, and affidavits which plaintiff intends to use are not Rule 33(d) business
              records. Without passing on whether answering interrogatories by “incorporation by reference” to other
              documents is ever permissible outside of Rule 33(d), suffice it to say the Court would not permit this tactic
              to be used to make an end run around the other restrictions imposed by Rule 33(d). For this reason, the
              Court also finds plaintiff is not permitted to use Rule 33(d) as has been attempted in this case.
   (Emphasis added) (Citations and footnotes omitted).

                                                               6            Nisus’ Opposition to Perma-Chink’s Motion to
                                                                                Compel Production of Interrogatory No. 9
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   this matter. Thus, Nisus is not “asserting assignor estoppel as a shield to Perma-Chink’s

   discovery efforts,” as Perma-Chink wrongly charges. Perma-Chink’s Motion, at 5.

            Perma-Chink’s conduct is also perplexing because its response to Nisus’ Interrogatory

   No. 5 does not even mention this defense, let alone Perma-Chink’s contentions. See Exhibit 4, at

   14-16. Why? Perma-Chink has the burden of proof and pleaded the count, so its refusal to

   address its own contention in discovery is wrong and should not be countenanced here. Nisus

   believes that Perma-Chink should provide an explanation for its conduct in its Reply Brief.

   C.       Unlike Perma-Chink, Nisus Addresses the Allegations That Inequitable Conduct
            Allegedly Occurred During the Prosecution of the Nisus I Patents

            Perma-Chink’s fourth pleaded inequitable conduct/fraud defense is its allegation that

   misrepresentations occurred during the prosecution of the ‘664 and ‘828 patents, neither of

   which are in suit here. Nisus cites to the Court’s Nisus I order barring prosecution of these

   counts in Nisus I, which is based on assignor estoppel. Nisus then notes that Perma-Chink is

   improperly attempting to circumvent that ruling in this lawsuit. See Exhibit 1, at 15.

            Again, Perma-Chink’s conduct is disingenuous because its response to Nisus’

   Interrogatory No. 5 does not even mention this defense, let alone Perma-Chink’s contentions on

   this matter. See Exhibit 4, at 14-16. Why? Perma-Chink should provide an explanation in its

   Reply Brief for its decision not to address its own pleaded count for which it has the burden of

   proof.

            Perma-Chink’s conduct in litigating Nisus’ response to its inequitable conduct/fraud

   contentions is highly abusive, particularly when Nisus is required to expend its resources

   demonstrating that Perma-Chink has incorrectly represented the content of Nisus’ responses.

   Perma-Chink then compounds the problem by not even addressing some of its own pleaded

   inequitable conduct counts. And, the problems with Perma-Chink’s answer could be even more


                                                    7         Nisus’ Opposition to Perma-Chink’s Motion to
                                                                  Compel Production of Interrogatory No. 9
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   extensive, but Nisus assumes that Perma-Chink’s incorporation of its pleadings into its response

   does not form any part of its “real” answer, as Perma-Chink has argued so many times would be

   highly inappropriate.


                     Perma-Chink Incorrectly Represents Nisus is Applying
            Assignor Estoppel in its Discovery Responses More Broadly than the Court

          Perma-Chink’s decision to litigate Nisus’ reliance on assignor estoppel in its response to

   the invalidity contentions arising before September 13, 1990 was likewise imprudent. As the

   Court knows, the appropriateness of Nisus relying on assignor estoppel to address invalidity

   theories arising under 35 U.S.C. §§ 102, 103, and 112 were already briefed in Nisus’ pending

   Motion for Protective Order Related to Matters Within Scope of Assignor Estoppel, Court File

   No. 144, before Perma-Chink filed the present Motion. The results of that ruling will be

   dispositive on whether Nisus’ responses to the invalidity contentions here are appropriate, so

   Perma-Chink’s rationale is unclear for filing the present Motion now. It appears Perma-Chink is

   imprudently expending the Court’s and Nisus’ resources.

          Nisus, however, addresses a few of Perma-Chink’s errant representations that may not be

   resolved by Nisus’ Motion for Protective Order. First, Perma-Chink has mischaracterized the

   invalidity defenses, which are based on facts or conditions existing on or before September 13,

   1990, to somehow be based on events arising after this date. Nisus relies on the Court’s prior

   rulings to establish this point. This exercise also demonstrates that Nisus is not seeking to extend

   the scope of assignor estoppel in its sought protective order to anything broader than this Court

   has already ruled is appropriate in Nisus I.

          The other point that Nisus addresses is Perma-Chink wants the Court to believe it is

   surprised Nisus is relying on assignor estoppel in response to Perma-Chink’s Interrogatory No. 9.



                                                    8         Nisus’ Opposition to Perma-Chink’s Motion to
                                                                  Compel Production of Interrogatory No. 9
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   In reality, Nisus expressly relied on this same defense on March 15 for the very same

   contentions, and Perma-Chink made no objection whatsoever. Mysteriously, this same reliance

   on assignor estoppel four months later has suddenly become a crisis and has resulted in extensive

   litigation, such as this briefing.

   A.      Nisus’ Reliance on Assignor Estoppel in its Discovery Responses is No Broader than
           this Court’s Application

           Nisus has not sought to expand the scope of assignor estoppel in its discovery process

   any broader than this Court’s application in Nisus I. Nonetheless, Perma-Chink argues:

           Perma-Chink’s affirmative defenses of “anticipation,” “lack of enablement,” and “failure
           to disclose best modes” all allege that Nisus improperly expanded the claimed invention
           in 2001 and 2002 and that no lab records support any new invention.

   Perma-Chink’s Motion, at 2 (emphasis in original). This contention is not supportable.

           1.      The ‘828 Patent Has a Claim of the Same Scope as Those at Issue Here

           The Court has previously applied the doctrine of assignor estoppel to Nisus’ ‘828 patent

   in the earlier litigation, and that patent has a claim with equivalent limitations to some of the

   claims in the patent-in-suit. Thus, the Court’s application of invalidity defenses to the claims of

   the ‘828 patent apply equally to those claims at issue here.

           Nisus explained this matter in its response to Interrogatory No. 9:

           The Court has already found that assignor estoppel applies to invalidity defenses asserted
           against U.S. Patent No. 5,645,828, and that patent specifically claims a propylene glycol
           formulation. See ‘828 patent, col. 32, line 25. It is axiomatic that if Perma-Chink cannot
           challenge the ‘828 patent claiming a propylene glycol formulation, Perma-Chink likewise
           is barred from contending the patent-in-suit is invalid for setting forth the identical
           propylene glycol claim limitation.

   Exhibit 1, at 8-9.

           To develop this point further, Nisus notes exemplary Claim 22 of the patent-in-suit, the

   ‘095 patent, sets forth three chemical limitations:



                                                     9          Nisus’ Opposition to Perma-Chink’s Motion to
                                                                    Compel Production of Interrogatory No. 9
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    A composition for treating tree derived products resulting from a mixture comprising:
       polyethylene glycol having an average molecular weight between about 200 and about
           400;
       propylene glycol; and
       a glycol soluble boron containing compound in an amount effective to prevent or
           eradicate infestation and wherein said glycol soluble boron containing compound is
           selected from the group consisting of borax, boric acid, potassium, ammonium and
           sodium salt of boric acid, boric oxide and disodium octaborate tetrahydrate and is
           present in the amount of between about 20% and about 50% by weight, and wherein
           said composition is capable of dilution with water in the amount between about 0.5
           and about five times the combined volume of said polyethylene glycol, propylene
           glycol and said soluble boron containing compound. (Emphasis added.)

 In comparison, Claim 12 of the ‘828 patent reads:

        The method of claim 11 wherein said short chain polyalkylene glycol having an average
           molecular weight of between about 200 and about 400 is polyethylene glycol having
           an average molecular weight of about 200, said alkylene glycol is ethylene glycol or
           propylene glycol and said boron provided as a glycol soluble boron containing
           compound is selected from the group consisting of disodium octaborate tetrahydrate,
           borax, boric acid, potassium, ammonium, and sodium salts of boric acid and boric
           oxide

 Exhibit 3, at col. 32, lines 21-29. This claim from the ‘828 patent sets forth the identical three

 chemical limitations as appear in the supposedly fraudulently filed ‘095 patent, namely, (1)

 propylene glycol, (2) polyethylene glycol, and (3) a glycol soluble boron containing compound.

        It necessarily follows that, assuming the Court does not reverse itself on its assignor

 estoppel ruling from Nisus I (given the underlying facts from 15 years ago cannot change), the

 same defenses that apply to the ‘828 patent will also apply to the ‘095 patent.

        2.         The Defense of Anticipation Was Subject to Assignor Estoppel in Nisus I

        As quoted above, the first defense that Perma-Chink lists as not potentially being subject

 to assignor estoppel is “anticipation,” which falls under 35 U.S.C. § 102. Perma-Chink’s

 argument fails.

        First, the Federal Circuit has explained:




                                                    10       Nisus’ Opposition to Perma-Chink’s Motion to
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                                   1504
        Invalidity based upon lack of novelty (often called “anticipation”) requires that the same
        invention, including each element and limitation of the claims, was known or used by
        others before it was invented by the patentee.

 Hoover Group, Inc. v. Custom Metalcraft, Inc., 66 F.3d 299, 302 (Fed. Cir. 1995). Anticipation,

 therefore, is a function of the prior art, which existed before Perma-Chink filed the original

 patent application at issue. That is why the Court ruled that assignor estoppel applies to this

 defense.

        Specifically, this Court found that assignor estoppel barred Perma-Chink from contenting

 that the claims of the ‘828 patent—including Claim 12 quoted above—were anticipated. See

 Exhibit 1, at 6-7 (quoting Court’s order in Nisus I denying summary judgment of anticipation

 under 35 U.S.C. § 102(b)). Assuming that assignor estoppel is found to apply in this lawsuit, it

 makes no sense that the Court would find Perma-Chink could prosecute the anticipation defense

 when it was barred from doing so in Nisus I for claims having the same limitations.

        3.      Assignor Estoppel Also Barred Perma-Chink’s Section 112 Defenses in
                Nisus I

        The Court has also found in Nisus I that assignor estoppel bars patent defenses arising

 under Section 112. Nisus discusses one ruling in its discovery response. See Exhibit 1, at 7-8

 (quoting Court’s order addressing indefiniteness under 35 U.S.C. § 112). Again, it is illogical to

 contend that Perma-Chink was barred from asserting that the ‘828 patent was invalid for lack of

 enablement and failures to disclose best mode for claims including the propylene glycol

 limitation, but Perma-Chink will be allowed to pursue those defenses in this action even if

 assignor estoppel is found to apply.

        Another way to consider this issue is that Perma-Chink contends that the patent

 specification that Perma-Chink itself filed with the Patent Office and later sold to Nisus is

 inadequate and invalidates the claims. This position contravenes the precept of assignor


                                                  11         Nisus’ Opposition to Perma-Chink’s Motion to
                                                                 Compel Production of Interrogatory No. 9
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                                   1505
 estoppel. Under the doctrine, Perma-Chink is barred from taking valuable consideration from

 Nisus for the patent rights and then defending its infringing activities by arguing it sold Nisus a

 defective patent application.

          The result is that Nisus is relying only on the defenses that this Court found were barred

 in Nisus I. All of these defenses rely on facts or conditions existing on or before September 13,

 1990. Perma-Chink’s counterargument falls apart when considering that some claims of the ‘828

 and ‘095 patents have identical limitations.

 B.       Nisus Raised Its Intent to Rely on Assignor Estoppel Months Ago, and Perma-Chink
          Did Not Object Until Recently

          Perma-Chink would also have the Court believe that assignor estoppel has never

 previously been at issue and, out of nowhere in mid-July, Nisus suddenly raised this defense.

 Pleadings in this case show Perma-Chink’s contention to be wrong.

          In its discovery responses served four months earlier on March 15, Nisus cited assignor

 estoppel as barring Perma-Chink’s patent invalidity based on 35 U.S. C. §§ 102, 103, and 112:

                   Subject to these and the general objections, Nisus notes that the doctrine of
          assignor estoppel bars Perma-Chink from contending that any events occurring before
          September 13, 1990—the date that Perma-Chink assigned Nisus the rights to the patent-
          in-suit for valuable consideration—cannot be a basis for invalidity and unenforceability.
          Such defenses include invalidity based on 35 U.S. C. §§ 102, 103, and 112. The Court
          has already ruled that the doctrine of assignor estoppel is applicable for the patent rights
          that Perma-Chink assigned to Nisus, and those patent rights matured into the patent-in-
          suit. As such, Perma-Chink is barred from accepting consideration for the patent rights
          and then claiming that those rights are worthless as a defense to its willful infringement.

 Exhibit 8, at 23.5 Thus, Nisus has been consistent on this point.

          Perma-Chink’s reaction to these discovery responses was a letter setting forth what it

 contended constituted the deficiencies in Nisus’ original responses; significantly, however, it

 made no objection to or mention of assignor estoppel. See Exhibit 5.

 5
   This is almost identical to the language that Nisus used in its supplemental responses, which has resulted in
 Perma-Chink’s plethora of discovery motions. See Exhibit 1, at 6.

                                                          12           Nisus’ Opposition to Perma-Chink’s Motion to
                                                                           Compel Production of Interrogatory No. 9
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                                   1506
            Because Perma-Chink acquiesced (that is, did not object) to Nisus’ responses that rely on

 assignor estoppel, it was unnecessary for Nisus to file a motion for protective order. There must

 be a dispute first, and none existed until July 29, when Perma-Chink first raised the issue. See

 Exhibit 9, ¶ 2. In fact, Perma-Chink waited seven (7) days after receiving Nisus’ discovery

 responses even to mention it objected to Nisus’ reliance on this defense. See Exhibit 10

 (documenting delivery of discovery responses at 9:25 am on July 19).

            Nonetheless, despite Nisus having no notification or even a hint that Perma-Chink

 objected to Nisus’ reliance on assignor estoppel, Perma-Chink vilifies Nisus for not acting

 earlier:

                   Five months after first receiving Perma-Chink’s discovery requests, Nisus
            belatedly filed a Motion For Protective Order on July 30, 2004 . . . .

 Perma-Chink’s Motion, at 3. Perma-Chink’s attempt to foist the blame on Nisus for supposedly

 failing to seek a protective order sooner is, once again, disingenuous.


                Perma-Chink Incorrectly Represents the Timing of Nisus’ Production

            Perma-Chink even inaccurately states how the parties exchanged their supplemental

 interrogatory responses, apparently to mitigate its one-week delay in objecting to the assignor

 estoppel defense. Specifically, Perma-Chink asserts:

            After Perma-Chink delivered its supplemental responses on July 16, 2004, it received
            Nisus’ supplemental responses by U.S. mail during the week of July 19.

 Perma-Chink’s Motion, at 2 (footnote omitted). This representation is wrong.

            The parties agreed to mutually exchange their responses by overnight courier, and that is

 what happened. Perma-Chink’s representation that delivered its responses to Nisus on July 16 is




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 errant. Perma-Chink’s representation that Nisus, in contrast, sent its responses “by U.S. Mail” to

 arrive sometime during the week of July 19 is also wrong, which Exhibit 10 documents.6


               Perma-Chink’s Request for Attorney’s Fees and Costs Lacks Merit

         Perma-Chink moves for “an award of its attorney’s fees and costs associated with this

 motion and the preceding discovery conference in an amount of not less than $5,000.00.”

 Perma-Chink’s Motion, at 7. This request is unwarranted and should fail.

         There was no reason for Perma-Chink to file this Motion when it did—other than to

 further its unmitigated quest to file as many discovery motions as possible. The Court’s ruling

 on Nisus’ Motion for Protective Order Related to Matters Within Scope of Assignor Estoppel

 will be dispositive to the appropriateness of Nisus’ discovery responses addressing patent

 invalidity.

         The other issues that Perma-Chink argued regarding the inequitable conduct/fraud

 defenses inaccurately portray the content of Nisus’ answers, and never should have been briefed.

 Moreover, Perma-Chink’s corresponding discovery responses are less comprehensive than

 Nisus’, as Perma-Chink failed to provide discovery on its own pleaded counts. Furthermore,

 Perma-Chink’s own discovery responses contravene the Federal Rules based on Perma-Chink’s

 own briefing to this Court a little over two months earlier. See Exhibit 7, at 2.

         Perma-Chink should not be rewarded for this conduct.




 6
   See id. (documenting Nisus’ responses were shipped on July 16 to D. William Toone by Federal Express and
 delivered on July 19 at 9:25 am).

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                                      CONCLUSION

       Perma-Chink’s Motion should be denied in all respects.

       Dated this 2d day of September, 2004.

                                           Respectfully submitted,


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                                                     Certificate of Service

                The undersigned hereby certifies that on September 2, 2004, a copy of the
 foregoing “PLAINTIFF NISUS CORPORATION’S OPPOSITION TO PERMA-CHINK’S
 MOTIONTO COMPEL PRODUCTION OF INTERROGATORY NO. 9” was filed
 electronically. Notice of this filing will by sent by operation of the Court’s electronic filing
 system to all counsel indicated on the electronic filing receipt. All other counsel, if any, will be
 served by regular U.S. Mail. Counsel may access this filing through the Court’s electronic filing
 system.




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